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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA



    UNITED STATES OF AMERICA                       *     CRIMINAL NO.          20-25

                                                   *
             v.                                          SECTION:              “H”
                                                   *

    MAN FAI HO                                     *
    VINH NGUYEN
    DUY NGUYEN                                     *
    VIET NGUYEN
    MICHAEL TRAN                                   *
    FRANCIO GONZALEZ
    CHAUVAN NGUYEN                                 *

                                            *      *     *

                                      SCHEDULING ORDER

                  In light of the trial date of December 4, 2023, the Court hereby sets the following

guidelines and deadlines: 1

                                            DISCOVERY

        Informal letter discovery/reciprocal discovery will be conducted in accordance with Rule 16

of the Federal Rules of Criminal Procedure and Local Criminal Rule 12 and will be completed by

the government by July 31, 2023, and by the defense by August 30, 2023. The government and the

defendants recognize that the parties will continue to investigate this matter beyond the discovery

deadlines, and all parties agree to turn over any additional discovery materials in a timely fashion.

If either by stipulation of admissibility by both parties or upon a finding by this Court of good



1
  Should the trial date change, the dates and deadlines reflected in this order will automatically
adjust to incorporate the change in trial date (i.e., the number of days prior to trial for each deadline
will remain the same).
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cause as to why the materials were not disclosed by the above discovery deadline, these materials

may be used at trial.

                                      BRADY MATERIAL

       The government is aware of its continuing obligation to produce exculpatory and other

impeachment material under Brady v. Maryland and its progeny and will discharge this obligation.

The government will provide any materials that are discoverable under Brady, to the extent they

exist, during the Rule 16 discovery phase of this proceeding set forth above. However, materials or

information which might constitute evidence discoverable under Brady and producible under the

Jencks Act and Federal Rule of Criminal Procedure 26.2, will be produced with the Jencks and

Giglio materials on November 20, 2023.

                          JENCKS ACT AND GIGLIO MATERIALS

       Materials to which the defendant and the government are entitled under Federal Rule of

Criminal Procedure 26.2, the Jencks Act (18 U.S.C. § 3500) and United States v. Giglio will be

provided to the opposing party by November 20, 2023 at 5:00 p.m. The parties may agree to

provide materials at an earlier date to facilitate the expeditious presentation of evidence.

                                     PRE-TRIAL MOTIONS

       Any motions to dismiss must be filed by September 25, 2023. Any opposition must be filed

by October 11, 2023. The Court will hear any such motions on October 18, 2023, at 9:30 a.m.

       The government will file any 404(b) motions by October 6, 2023. Any opposition must be

filed by November 3, 2023. The Court will hear any such motions on November 15, 2023, at 9:30

a.m.

       Any motions to sever must be filed by September 25, 2023. Any opposition must be filed

by October 11, 2023. The Court will hear any such motions on October 18, 2023, at 9:30 a.m.
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       To the extent that the defendants intend to pursue any affirmative defenses, including but

not limited to those set forth in Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, the

defendants must give notice on or before September 8, 2023. Any motions to exclude an

affirmative defense shall be filed by September 29, 2023. Any opposition must be filed by October

13, 2023. The Court will hear any such motions on October 18, 2023 at 9:30 a.m.

                                    MOTIONS IN LIMINE

       All motions in limine shall be filed no later than October 20, 2023, with all oppositions due

by November 3, 2023. The Court will hear any such motions on November 15, 2023, at 9:30 a.m.

                                    EXPERT WITNESSES

       In accordance with the provisions of Rule 16(a)(1)(G), the government shall designate the

type of experts it intends to utilize at trial and satisfy the requirements of Rule 16(a)(1)(G) by

October 2, 2023. In accordance with the provisions of Rule 16(b)(1)(C), the defendants shall

designate the type of experts they intend to utilize at trial and satisfy the requirements of Rule

16(b)(1)(C) by October 16, 2023. Any motions to exclude such experts shall be filed by November

1, 2023. Responses shall be due November 8, 2023. The Court will hold any Daubert hearing or

hearings on these motions on November 15, 2023, at 9:30 a.m.

                                       STIPULATIONS

       To facilitate judicial economy, where authenticity and technical predicates are not at issue,

the government will submit a proposed stipulation relating to the authenticity of its evidence no

later than October 23, 2023. The stipulations will encompass the authenticity of recorded

audio/video tapes and business/public records. The defendants will review the proposed

stipulations and propose any changes on November 1, 2023, with agreement on the final
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stipulations to be completed no later than November 8, 2023. The government will likewise act

accordingly with any stipulations proposed by the defense.

                                          EXHIBITS

       The government must produce all summary evidence under Rule 1006 and materials

underlying those summaries by November 3, 2023. The defense must produce all summary

evidence under Rule 1006 and materials underlying those summaries by November 17, 2023

       The parties will submit proposed exhibit lists by November 24, 2023. 2

        New Orleans, Louisiana, this     21st      day of August 2023.




                                             HONORABLE JANE TRICHE MILAZZO
                                             UNITED STATES DISTRICT JUDGE




2
   The parties also desire to present trial exhibits without redaction. However, the parties
understand and agree that no trial exhibit can be released to a non-party without satisfying the
requirements of FED. R. CRIM. P. 49.1. Charts and summaries used to aid the jury will be disclosed
by the parties at trial. Further amendments to the exhibit list will be disclosed immediately.
